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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
UNITED STATES OF AMERICA            )
                                   )
                                   )
      v.                           )
                                   )    No. 16-CR-10343-ADB
JOHN N. KAPOOR,                     )
                                   )
                                   )
            Defendant.             )
___________________________________)

                     GOVERNMENT’S SUPPLEMENTAL FILING
              REGARDING DEFENDANT JOHN KAPOOR’S STATUS REPORT

         The Government submits this brief supplemental filing not to respond to each of the

arguments made in Kapoor’s “status report,” but to instead ensure a clear factual record for the

Court.

         1.     Contrary to Kapoor’s status report (D. 1610 at 2), the Government did not mislead

the Court or Kapoor about the input the Government provided to the Home Confinement

Committee (HCC) in response to the HCC’s request. During the April 12, 2023 Hearing, the

Government stated multiple times that the HCC asked for the Government’s input and that the

Government provided that input by objecting to Kapoor’s request for an early release. See D.

1607, Tr. at 6 (“[The HCC] invite[ed] us to provide our perspective and the government in this

case did, and it objected to an early release.); see also Tr. at 21 (“[T]he government in this

instance was asked for its perspective, and it provided its perspective. … [W]e have a role to

play in supporting victims …”).

         2.     Contrary to Kapoor’s status report (D. 1610 at 2), The Government did not

mislead the Court or Kapoor about whether it knew the reasons for the HCC’s denial of Kapoor’s



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February 2023 CARES Act request. As the Government stated during the April 12, 2023

hearing, the HCC did not inform the Government of the reasons for its March 15, 2023 denial of

Kapoor’s CARES Act request. See D. 1607, Tr. at 6 (“The government is just told that it can

provide its perspective, and then the government is told what the decision is. The government is

not told the reason for that.”). At the Court’s request (Tr. at 21), the Government attempted to

determine the reason for the HCC’s denial of Kapoor’s CARES Act request after the April 12,

2023 hearing. The Government was told after the April 12th hearing that the HCC denied

Kapoor’s request due to public safety concerns coupled with the fact that Kapoor was an

organizer and leader of criminal activity that involved 5 or more participants and 10 or more

victims.

                                             Respectfully submitted,

Date: April 26, 2023                         RACHAEL S. ROLLINS
                                             UNITED STATES ATTORNEY


                                      By:    /s/ Patrick M. Callahan
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                                 CERTIFICATE OF SERVICE

       I, Patrick M. Callahan, hereby certify that the foregoing was filed through the Electronic
Court Filing System and will be sent electronically to registered participants as identified on the
Notice of Electronic Filing.

Date: April 26, 2023                                  /s/ Patrick M. Callahan
                                                      Patrick M. Callahan
                                                      Assistant U.S. Attorney




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